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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

JED WALLACE,                             §
STREET RELATIONS, INC.                   §
                                         §
       Plaintiffs,                       §
                                         §
v.                                       §    CIVIL ACTION NO. 1:25-cv-163
                                         §
BLAKE LIVELY,                            §
                                         §
       Defendant.                        §

        PLAINTIFFS’ NOTICE OF COURT’S ORDER GRANTING
                      MOTION TO DISMISS

      Plaintiffs Jed Wallace and Street Relations, Inc. file this notice for the Court

to be aware of Docket Entry 426 in Lively v. Wayfarer Studios, et al., 1:24-cv-10049-

LJL, (S.D.N.Y. July 16, 2025).

      Plaintiffs ask the Court to take judicial notice of the attached docket entry in

the New York Litigation which dismisses all of Blake Lively’s claims (Seventh,

Twelfth and Eighteenth Causes of Action) against Jed Wallace and Street Relations

without prejudice. See In re Deepwater Horizon, 934 F.3d 434, 440 (5th Cir. 2019)

(granting “motion to take judicial notice of the docket and complaint in” a district

court case); Brown v. Lippard, 350 Fed. App’x 879, 883 n.2 (5th Cir. 2009) (taking

judicial notice of the docket entry); Ernst v. Ocwen Loan Servicing, LLC, No. 1:18-



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CV-428-RP, 2019 WL 7761444, at *2 n.3 (W.D. Tex. Nov. 22, 2019) (taking judicial

notice of bankruptcy action).

Dated: July 16, 2025                             Respectfully submitted,

                                                 JACKSON WALKER LLP

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                        CERTIFICATE OF SERVICE

     I hereby certify that on this 16th day of July, 2025, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system.

                                         /s/ Matt Dow
                                         Matt Dow




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